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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV72
    Elizabeth Sines, et al                                  Date: October 22, 2021
    vs.                                                     Judge: Norman K. Moon
                                                            Court Reporter: Lisa Blair
    Jason Kessler, et al
                                                            Deputy Clerk: Heidi Wheeler



    Plaintiff Attorney(s)                           Defendant Attorney(s)
    In Person:                                      By: Zoom
    Karen Dunn                                      James Kolenich
    Roberta Kaplan                                  Josh Smith
    Michael Bloch                                   David Campbell
    Giovanni Sanchez                                Bryan Jones
    Jessica Phillips                                William ReBrook
    David Mills                                     Richard Spencer, pro se
    Alan Levine
    Raymond Tolentino                               In Person:
                                                    Christopher Cantwell, pro se
    By: Zoom
    Makiko Hiromi
    Nick Butto
    Emily Cole



                                      LIST OF WITNESSES

    PLAINTIFF/GOVERNMENT:                           DEFENDANT:
    1.                                              1.



   PROCEEDINGS:
   FINAL PRETRAIL CONFERENCE AND MOTION HEARING 10:10-11:30=1hr 20 min
   11:38-1:25= 1hr 47min Total: 3hr 7min

   Court gives outline for proceeding today. Court will be hearing and motions and working on trial
   and jury selections protocols.
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   Court and parties address preliminary strikes for cause.

   Motion to Modify Judge Hoppe’s Order argued by Mr. Tolentino. Response by Mr. Campbell.

   Motion to excluded testimony of Davis argued by Ms. Hiromi. Response by Mr. ReBrook.

   Defense counsel Smith makes motion to preclude mention of certain terms. Ms. Kaplan
   responds. Mr. Cantwell objects. Remarks by Court.

   Arguments regarding Heaphy Report by Smith. Mr. Tolentino responds.

   Mr. Spencer addresses exhibit lists.
   Mr. Smith addresses exhibits.

   Basic jury procedures addressed.

   Mr. Cantwell speaks to data.

   Mr. Cantwell moves to continue by 12 months. Continued arguments regarding documents.

   Court goes over the voir dire panels and procedures. Times- 9:30 on Monday and Tuesday and
   then at 9:00 on trial days.

   Court will break on Veterans day during trial.

   Further selection process and procedures addressed.

   Court adjourns.
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   Time in Court:
